  Case 1:19-cv-01555-UNA Document 1 Filed 08/20/19 Page 1 of 15 PageID #: 1



                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

GABRIEL DE LA VEGA JR.,
                       Plaintiff,
       v.                                          CIVIL ACTION NO.

FACEBOOK, INC.,                                    JURY TRIAL DEMANDED

                       Defendant.


                           PLAINTIFF’S ORIGINAL COMPLAINT

       Plaintiff Gabriel De La Vega Jr. (“Plaintiff”), by and through its undersigned counsel,

files this Original Complaint against Defendant Facebook, Inc., (“Defendant”) as follows:

                                    NATURE OF THE ACTION

       1.      This is an action for violation of 35 U.S.C. §§ 271(a) and 35 U.S.C. §§ 271(b).

This is a patent infringement action to stop Defendant’s infringement of United States Patent No.

10,205,986 (“the ‘986 Patent”) entitled “Streaming Video Selection System and Method”. A true

and correct copy of the ‘986 Patent, (“patent in suit”) is attached hereto as Exhibit A. Plaintiff is

the owner of the ‘986 Patent. Plaintiff seeks monetary damages and injunctive relief.

                                             PARTIES

       2.      Plaintiff is an individual having a primary residence located in Las Vegas,

Nevada.

       3.      Upon information and belief, Defendant is a corporation organized and existing

under the laws of the State of Delaware with a principal place of business located at 1 Hacker

Way, Menlo Park, California 94025. Defendant can be served with process by serving

Corporation Service Company, 251 Little Falls Drive, Wilmington, DE 19808.




                                                  1
  Case 1:19-cv-01555-UNA Document 1 Filed 08/20/19 Page 2 of 15 PageID #: 2



                                 JURISDICTION AND VENUE

       4.      This is a civil action for patent infringement arising under the patent laws of the

United States, 35 U.S.C. § 101 et seq., including 35 U.S.C. §§ 271 and 281-285. This Court has

exclusive subject matter jurisdiction over this case for patent infringement under 28 U.S.C. §§

1331 and 1338.

       5.      Venue is proper in this Court pursuant to 28 U.S.C. § 1400(b). Defendant is

incorporated in this District and Defendant has individually transacted business in this district

and/or committed acts of patent infringement in this district.

       6.      This Court has personal jurisdiction over Defendant. Defendant has conducted

and does conduct business within the District of Delaware. Defendant, directly or through

subsidiaries or intermediaries (including distributors, retailers and others), ships, distributes,

offers for sale, sells, and/or advertises (including through its web pages) its products and services

(including products and/or services that infringe the patent in suit, as described more particularly

below) in the United States, the State of Delaware, and the District of Delaware. Defendant,

directly and through subsidiaries or intermediaries (including distributors, retailers, and others),

has purposefully and voluntarily placed one or more infringing products and/or services, as

described below, into the stream of commerce with the expectation that they will be purchased

and/or used by consumers in the District of Delaware. These infringing products and/or services

have been and continue to be purchased and/or used by consumers in the District of Delaware.

Defendant has committed acts of patent infringement within the State of Delaware and, more

particularly, within the District of Delaware.




                                                 2
  Case 1:19-cv-01555-UNA Document 1 Filed 08/20/19 Page 3 of 15 PageID #: 3



                                  THE ASSERTED PATENT

       7.       This lawsuit asserts causes of action for infringement of United States Patent No.

10,205,986.

       8.       On February 12, 2019, the U.S. Patent and Trademark Office duly and legally

issued U.S. Patent No. 10,205,986 (“the ‘986 Patent”) entitled “Streaming Video Selection

System and Method” to Gabriel De La Vega Jr. who is the owner of the ‘986 Patent and holds all

right, title and interest to the ‘986 Patent. A true and correct copy of the ‘986 Patent is attached

as Exhibit A.

       9.       Claim 1 of the ’986 Patent describes, among other things:

A method for selecting streaming image content from a network comprising:

       Providing real-time streaming image content output by a camera from at least one mobile
               content provider;
       Coupling said real-time streaming image content from said mobile content provider
               camera to the network using a networked computer in conjunction with cellular
               telephony, wherein said real-time streaming image content provided by said
               mobile content provider is acquired while in motion within the cellular telephony
               coverage area;
       Presenting said real-time streaming image content from said mobile content provider on a
               server homepage for selection; and
       Selecting said real-time streaming image content from said at least one mobile content
               provider presented on said homepage for viewing in real-time over the Internet,
               wherein a viewer filters the real-time streaming image content by selection
               criteria comprising at least one of a location, a name, a type, and an audio
               commentary.

       10.      Claim 9 of the ‘986 Patent describes, among other things:

A system for selecting streaming image content output by a camera from at least one mobile
content provider;

       Means for coupling said real-time streaming image content from said mobile content
             provider camera to the network using a networked computer in conjunction with
             cellular telephony, wherein said real-time streaming image content provided by
             said mobile content provider is acquired while in motion within the cellular
             telephony coverage area;



                                                 3
   Case 1:19-cv-01555-UNA Document 1 Filed 08/20/19 Page 4 of 15 PageID #: 4



        Means for presenting said real-time streaming image content from said mobile content
              provider on a server homepage for selection.
        Means for presenting filtered content by selection criteria filtered by a viewer, the
              selection criteria comprising at least one of a location, a name, a type, and an
              audio commentary of said real-time streaming image content on the homepage;
              and
        Means for selecting said real-time streaming image content from said mobile content
              provider presented on said homepage for viewing in real-time over the Internet.

        11.      The ‘986 Patent is owned by Gabriel De La Vega Jr. and the technology covered

by said patent was developed by Gabriel De La Vega Jr.

        12.      The patent in suit is valid and enforceable.

              BROADCASTING IMAGES IN A COMMUNICATIONS NETWORK

        13.      The filing date of the ‘986 Patent was in August 4, 2004. During this time period

3G technology was being taken over in Europe and was just beginning to be introduced in the

United States. Even with this technology, the data rates could not support live streaming video

unless the person taking the video was standing still and not in motion.1 The claims in the ‘986

patent require that the user taking the video be in motion.

        14.      Additionally, residential internet use was limited to cable or DSL connections.

The bandwidth for these internet communication technologies was barely enough to enable

viewing of 480p30 live streaming videos.

        15.      The invention embodied in the ‘986 Patent allows a user to be in motion while

taking a video using cellular telephony for the purpose of live streaming said video on a content

providers homepage wherein another user may filter the displayed videos by name, location,

geography etc. At the time of the filing of the ‘986 Patent this was impossible in the prior art.

            COUNT I – PATENT INFRINGEMENT OF U.S. PATENT NO. 10,205,986

        1
          3G symbolized another major progression for mobile wireless technology. Not only did data speeds
improve again with speeds of up to 2Mbps for indoor or stationary users, 384kbps for pedestrians and 144kbps for
moving vehicles. See https://blog.oneringnetworks.com/the-evolution-of-mobile-internet.


                                                       4
  Case 1:19-cv-01555-UNA Document 1 Filed 08/20/19 Page 5 of 15 PageID #: 5



         16.   Plaintiff refers to and incorporates herein the allegations of Paragraphs 1-15

above.

         17.   The ‘986 patent was duly and legally issued by the United States Patent and

Trademark Office on February 12, 2019 after full and fair examination. Plaintiff is the owner of

the ‘986 patent and possesses all rights of recovery under the ‘986 patent, including the exclusive

right to sue for infringement and recover past damages and obtain injunctive relief.

         18.   Defendant owns, uses, operates, advertises, controls, sells, tests, and/or otherwise

provides apparatus, systems, and methods that infringe the ‘986 patent. The ‘986 patent provides,

among other things, “a method for selecting streaming image content from a network

comprising, providing real-time streaming image content output by a camera from at least one

mobile content provider; coupling said real-time streaming image content from said mobile

content provider camera to the network using a networked computer in conjunction with cellular

telephony, wherein said real-time streaming image content provided by said mobile content

provider is acquired while in motion within the cellular telephony coverage area; presenting said

real-time streaming image content from said mobile content provider on a server homepage for

selection; and selecting said real-time streaming image content from said at least one mobile

content provider presented on said homepage for viewing in real-time over the Internet, wherein

a viewer filters the real-time streaming image content by selection criteria comprising at least

one of a location, a name, a type, and an audio commentary.

         19.   Defendant has been and is now infringing the ‘986 patent in the State of

Delaware, in this judicial district, and elsewhere in the United States by, among other things,

directly and/or indirectly through intermediaries, making, using, importing, testing, providing,

supplying, distributing, selling, and/or offering for sale systems (including, without limitation,



                                                5
  Case 1:19-cv-01555-UNA Document 1 Filed 08/20/19 Page 6 of 15 PageID #: 6



the Defendant’s real-time streaming video functionality located on its website at

www.facebook.com                   and                further               described                at

https://www.facebook.com/help/publisher/167417030499767 (Last Accessed 8/12/19) and

https://www.facebook.com/help/587160588142067?helpref=faq_content                 (Last     Accessed

8/12/2019) identified herein as the “Accused Instrumentality”) that provide a method and system

for selecting a live streamed video based on certain search criteria, wherein said live streamed

video is taken while in motion from a camera coupled to a computer for transmission of said

streamed video via cellular telephony to a server that is covered by one or more claims of the

‘986 patent to the injury of Plaintiff. Plaintiff is directly and/or indirectly infringing, literally

infringing, and/or infringing the ‘986 patent under the doctrine of equivalents. Defendant is thus

liable for infringement of at least claims 1 and 9 of the ‘986 patent pursuant to 35 U.S.C. § 271.

       20.     Defendant has had knowledge of the ‘986 patent and has had specific intent to

infringe the ‘986 patent at least by the date of the filing of Plaintiff’s Original Complaint.

       21.     Defendant infringes the ‘986 patent by completing each step of claim 1 for

selecting streaming image content from a network comprising:

       Providing real-time streaming image content output by a camera from at least one
mobile content provider;




See https://www.facebook.com/facebookmedia/solutions/facebook-live (Last Accessed
8/12/2019)

       Coupling said real-time streaming image content from said mobile content provider
camera to the network using a networked computer in conjunction with cellular telephony,
wherein said real-time streaming image content provided by said mobile content provider is
acquired while in motion within the cellular telephony coverage area;

                                                  6
  Case 1:19-cv-01555-UNA Document 1 Filed 08/20/19 Page 7 of 15 PageID #: 7




See https://www.facebook.com/facebookmedia/solutions/facebook-live (Last Accessed
8/12/2019)




  Description: Facebook users may create stories on their profile homepages that include live
             video streams from their mobile devices. Screenshot take 8/13/2019.




                                              7
  Case 1:19-cv-01555-UNA Document 1 Filed 08/20/19 Page 8 of 15 PageID #: 8




       Description: Once a user clicks to add a story they are presented with a page that allows
them to choose the camera option. Screenshot taken 8/13/2019.




        Description: Once a user selects the camera option, the user is presented with the camera
feed from the camera on their mobile device. The user may then scroll the bottom of the screen
to the “LIVE” function which enables the user to take live videos. The user may then select
“Start Live Video” to start taking live videos. Screenshot taken 8/13/2019.

                                               8
  Case 1:19-cv-01555-UNA Document 1 Filed 08/20/19 Page 9 of 15 PageID #: 9




       Description: After selection, the mobile device’s camera starts to take video of its
surroundings and sending the stream via the phone’s cellular telephony i.e. communication
protocol LTE. Screenshot taken 8/13/2019

       Presenting said real-time streaming image content from said mobile content provider on
a server homepage for selection; and




Description: The live video stream is presented on the user’s homepage for selection. Screenshot
taken 8/13/2019

Selecting said real-time streaming image content from said at least one mobile content provider
presented on said homepage for viewing in real-time over the Internet, wherein a viewer filters
the real-time streaming image content by selection criteria comprising at least one of a location,
a name, a type, and an audio commentary.




                                                9
 Case 1:19-cv-01555-UNA Document 1 Filed 08/20/19 Page 10 of 15 PageID #: 10




Description: Users can select which live video they want to watch by typing the name of the user
that is taking the live streaming video. Screenshot taken 8/13/2019




Description: Users can select which live video they want to watch by typing the name of the user
that is taking the live streaming video. Screenshot taken 8/12/2019.

       22.    Defendant also infringes under 35 U.S.C. § 271(b) by inducing infringement of

the ‘986 patent in the State of Delaware, literally or under the doctrine of equivalents, in this

judicial district, and elsewhere in the United States, by, among other things, advising,

encouraging, or otherwise inducing others to perform the steps and/or operate the systems

                                               10
 Case 1:19-cv-01555-UNA Document 1 Filed 08/20/19 Page 11 of 15 PageID #: 11



claimed by the ‘986 patent to the injury of Plaintiff. Defendant actively instructs their customers

to use the Accused Instrumentality in a way that infringes the ‘986 patent. Since at least the filing

date of the Original Complaint, Defendant has had knowledge of the ‘986 patent, and by

continuing the actions described herein, has specific intent to induce infringement of the ‘986

patent pursuant to 35 U.S.C. § 271(b).

       23.     Specifically, Defendant advertises the Accused Instrumentality to its customers,

and instructs its customers to operate the Accused Instrumentality in a way that infringes, such

that when Defendant’s customers follow Defendant’s instructions, the ‘986 patent is infringed.

       24.     Since at least the filing date of the Original Complaint, Defendant has had

knowledge of the ‘986 patent pursuant to 35 U.S.C. § 271(b), and by continuing the actions

described above, by continuing to sell the Accused Instrumentality and instruct their customers

to use the Accused Instrumentality in an infringing manner, Defendant has had specific intent to

induce infringement of the ‘986 patent pursuant to 35 U.S.C. § 271(b).

       25.     Defendant specifically intended for its customers to infringe the ‘986 patent

because Defendant continues to advertise and provide to its customers manuals and product

information on their website that when followed necessarily infringe the ‘986 patent. See

https://webcache.googleusercontent.com/search?q=cache:JyJLwS40tY0J:https://live.fb.com/goli

ve/+&cd=10&hl=en&ct=clnk&gl=us (Last Accessed 8/13/2019).




                                                 11
 Case 1:19-cv-01555-UNA Document 1 Filed 08/20/19 Page 12 of 15 PageID #: 12




Description: Evidence supports the fact that Facebook took down its help section for its live
video streaming functionality shortly before this suit was filed but was able to be accessed using
the google cache functionality which indicates the page was active as of August 4, 2019.
Screenshot taken 8/13/2019.




                                               12
 Case 1:19-cv-01555-UNA Document 1 Filed 08/20/19 Page 13 of 15 PageID #: 13



Description: Evidence supports the fact that Facebook instructs its customers in its help section
on the Facebook application how to go live on Facebook using their mobile device. Screenshot
taken 8/13/2019.

       26.     Defendant instructs its customers, such that when Defendant’s customers follow

Defendant’s instructions, each of said customers necessarily use the Accused Instrumentality in

an infringing manner as claimed in the ‘986 patent making Defendant’s customers direct

infringers of the ‘986 patent.

       27.     Defendant also infringes under 35 U.S.C. § 271(c) by contributing to infringement

of the ‘940 patent in the State of Delaware, literally or under the doctrine of equivalents, in this

judicial district, and elsewhere in the United States, by, among other things, offering for sale,

selling, and/or importing the Accused Instrumentality, and advising, encouraging, and

contributing so that others can use the system and method claims claimed by the ‘986 patent

making Defendant’s customers direct infringers of the ‘986 patent.

       28.     Specifically, pursuant to 35 U.S.C. § 271(c), Defendant advertises, sells, and

provides the Accused Instrumentality to its customers, and instructs its customers, such that

when Defendant’s customers follow Defendant’s instructions, each of said customers necessarily

infringe one or more systems claimed in the ‘986 patent making Defendant’s customers direct

infringers of the ‘986 patent.

       29.     The Accused Instrumentality that Defendant provides to its customers is designed

specifically for use by their customers in an infringing manner. The functionality described in the

‘986 patent is necessary for the Accused Instrumentality provided by Defendant to its customers

to work for its advertised purpose.




                                                13
 Case 1:19-cv-01555-UNA Document 1 Filed 08/20/19 Page 14 of 15 PageID #: 14



        30.    There is no substantial non-infringing use for the Accused Instrumentality

because the Accused Instrumentality is especially made or adapted for use by its customers to

infringe the ‘986 patent.

        31.    Defendant continues advising, encouraging, contributing, or otherwise inducing

others to use the systems and complete each step of the methods claimed by the ‘986 patent to

the injury of Plaintiff. Since at least the filing date of the Original Complaint, Defendant has had

knowledge of the ‘986 patent, and by continuing the actions described above, has specific intent

to induce infringement of the ‘986 patent by their customers by providing them with the Accused

Instrumentality so that their customers could directly infringe the ‘986 patent pursuant to 35

U.S.C. § 271(c).

        32.    Defendant’s aforesaid activities have been without authority and/or license from

Plaintiff.

        33.    To the extent 35 U.S.C. § 287 is determined to be applicable, Plaintiff is informed

and believes its requirements have been satisfied with respect to the ‘986 patent.

                                         JURY DEMAND

        Plaintiff hereby requests a trial by jury pursuant to Rule 38 of the Federal Rules of Civil

Procedure.

                                     PRAYER FOR RELIEF

        Plaintiff respectfully requests that the Court find in its favor and against the Defendant,

and that the Court grant Plaintiff the following relief:

    A. A judgment that Defendant directly and/or indirectly infringes one or more claims of the
       ‘986 patent;

    B. Award Plaintiff damages in an amount adequate to compensate Plaintiff for Defendant’s
       infringing products’ infringement of the claims of the ‘986 patent, but in no event less
       than a reasonable royalty, supplemental damages and enhanced damages for any

                                                  14
 Case 1:19-cv-01555-UNA Document 1 Filed 08/20/19 Page 15 of 15 PageID #: 15



       continuing post-verdict infringement until entry of the final judgment with an accounting
       as needed, under 35 U.S.C. § 284;

   C. A permanent injunction pursuant to 35 U.S.C. § 283, enjoining Defendant and their
      officers, directors, agents, servants, affiliates, employees, divisions, branches,
      subsidiaries, parents, and all others acting in active concert therewith from infringement,
      inducing the infringement of, or contributing to the infringement of the ‘986 patent, or
      such other equitable relief the Court determines is warranted;

   D. Award Plaintiff pre-judgment interest and post-judgment interest on the damages
      awarded, pursuant to 35 U.S.C. § 284, from the date of each act of infringement of the
      ‘986 patent by Defendant to the day a damages judgment is entered, and an award of
      post-judgment interest, pursuant to 28 U.S.C. § 1961, continuing until such judgment is
      paid, at the maximum rate allowed by law; and an accounting of all damages not
      presented at trial;

   E. A judgment and order finding this to be an exceptional case and requiring defendant to
      pay the costs of this action (including all disbursements), and attorneys’ fees pursuant to
      35 U.S.C. § 285;

   F. Award a compulsory future royalty for the ‘986 patent; and

   G. Award such further relief as this Court deems just and proper.

Dated: August 20, 2019                           STAMOULIS & WEINBLATT LLC

                                                 /s/Stamatios Stamoulis
                                                 Stamatios Stamoulis #4606
                                                 Richard C. Weinblatt #5080
                                                 800 N. West Street, Third Floor
                                                 Wilmington, DE 19801
                                                 (302) 999-1540
                                                 stamoulis@swdelaw.com
                                                 weinblatt@swdelaw.com

                                                 HANSLEY LAW FIRM, PLLC
                                                 Austin Hansley
                                                 Texas Bar No.: 24073081
                                                 13355 Noel Rd. STE 1100
                                                 Dallas, Texas 75240
                                                 Telephone: (972) 528-9321 Ext. 1000
                                                 Facsimile: (972) 370-3559
                                                 Email: ahansley@hansleyfirm.com
                                                 www.hansleyfirm.com
                                                 ATTORNEY FOR PLAINTIFF
                                                 GABRIEL DE LA VEGA, JR.

                                              15
